                                                 Case 13-19385-LMI                                    Doc 1            Filed 04/25/13                         Page 1 of 47
B1 (Official Form 1) (4/13)
                                                              United States Bankruptcy Court                                                                                                  Voluntary Petition
                                                          SOUTHERN DISTRICT OF FLORIDA
  Name of Debtor             (if individual, enter Last, First, Middle):                                               Name of Joint Debtor                (Spouse)(Last, First, Middle):


  Smith, Gwendolyn L
  All Other Names used by the Debtor in the last 8 years                                                               All Other Names used by the Joint Debtor in the last 8 years
  (include married, maiden, and trade names):                                                                          (include married, maiden, and trade names):
  NONE


 Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN                                      Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN
  (if more than one, state all):   1626                                                                                (if more than one, state all):
  Street Address of Debtor                  (No. & Street, City, and State):                                           Street Address of Joint Debtor                    (No. & Street, City, and State):
  2029 NW 49 Street
  Miami, FL
                                                                                               ZIPCODE                                                                                                           ZIPCODE
                                                                                               33142
  County of Residence or of the                                                                                        County of Residence or of the
  Principal Place of Business:                    Miami-Dade                                                           Principal Place of Business:
  Mailing Address of Debtor                  (if different from street address):                                       Mailing Address of Joint Debtor                    (if different from street address):

  SAME
                                                                                               ZIPCODE                                                                                                           ZIPCODE


  Location of Principal Assets of Business Debtor                                                                                                                                                                 ZIPCODE
  (if different from street address above): NOT APPLICABLE


  Type of Debtor             (Form of organization)
                                                                              Nature of Business                                Chapter of Bankruptcy Code Under Which the Petition is Filed
                                                                           (Check one box.)                                                (Check one box)
                (Check one box.)                                                                                                Chapter 7                     Chapter 15 Petition for Recognition
                                                                           Health Care Business
      Individual (includes Joint Debtors)                                                                                       Chapter 9                      of a Foreign Main Proceeding
                                                                           Single Asset Real Estate as defined                  Chapter 11
      See Exhibit D on page 2 of this form.
                                                                           in 11 U.S.C. § 101 (51B)                             Chapter 12                    Chapter 15 Petition for Recognition
      Corporation (includes LLC and LLP)                                                                                                                      of a Foreign Nonmain Proceeding
                                                                           Railroad                                             Chapter 13
      Partnership
                                                                           Stockbroker                                                      Nature of Debts        (Check one box)
      Other (if debtor is not one of the above
                                                                           Commodity Broker                                   Debts are primarily consumer debts, defined                                   Debts are primarily
      entities, check this box and state type of
      entity below                                                         Clearing Bank                                      in 11 U.S.C. § 101(8) as "incurred by an                                      business debts.
                                                                                                                              individual primarily for a personal, family,
                                                                           Other
                                                                                                                              or household purpose"
             Chapter 15 Debtors                                              Tax-Exempt Entity                                                          Chapter 11 Debtors:
Country of debtor's center of main interests:                                  (Check box, if applicable.)
                                                                                                                       Check one box:
  _____________________________________                                    Debtor is a tax-exempt organization
                                                                                                                           Debtor is a small business as defined in 11 U.S.C. § 101(51D).
Each country in which a foreign proceeding by,                             under Title 26 of the United States
regarding, or against debtor is pending:                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                           Code (the Internal Revenue Code).
  _____________________________________
                                                                                                                       Check if:
                                   Filing Fee         (Check one box)
                                                                                                                         Debtor’s aggregate noncontingent liquidated debts (excluding debts
      Full Filing Fee attached                                                                                           owed to insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
     Filing Fee to be paid in installments (applicable to individuals only). Must                                          on 4/01/16 and every three years thereafter).
     attach signed application for the court’s consideration certifying that the debtor                            -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- --
     is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                  Check all applicable boxes:
                                                                                                                          A plan is being filed with this petition
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
     attach signed application for the court's consideration. See Offi cial Form 3B.                                        Acceptances of the plan were solicited prepetition from one or more
                                                                                                                            classes of creditors, in accordance with 11 U.S.C. § 1126(b).

  Statistical/Administrative Information                                                                                                                                                    THIS SPACE IS FOR COURT USE ONLY

         Debtor estimates that funds will be available for distribution to unsecured creditors.
         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
         distribution to unsecured creditors.
 Estimated Number of Creditors

  1-49               50-99             100-199            200-999             1,000-         5,001-          10,001-           25,001-           50,001-            Over
                                                                              5,000          10,000          25,000            50,000            100,000            100,000
 Estimated Assets
  $0 to              $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001      $500,000,001       More than
  $50,000            $100,000          $500,000           to $1               to $10         to $50          to $100           to $500           to $1 billion      $1 billion
                                                          million             million        million         million           million
 Estimated Liabilities
  $0 to              $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001      $500,000,001       More than
  $50,000            $100,000          $500,000           to $1               to $10         to $50          to $100           to $500           to $1 billion      $1 billion
                                                          million             million        million         million           million
                                      Case 13-19385-LMI                        Doc 1           Filed 04/25/13                       Page 2 of 47
B1 (Official Form 1) (4/13)                                                                                                                                           FORM B1, Page   2
 Voluntary Petition                                                                          Name of Debtor(s):
  (This page must be completed and filed in every case)
                                                                                             Gwendolyn L Smith
                         All Prior Bankruptcy Cases Filed Within Last 8 Years                       (If more than two, attach additional sheet)
 Location Where Filed:                                                               Case Number:                                                 Date Filed:
 NONE
 Location Where Filed:                                                               Case Number:                                                 Date Filed:


  Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                  (If more than one, attach additional sheet)
 Name of Debtor:                                                                      Case Number:                                                Date Filed:
 NONE
 District:                                                                            Relationship:                                               Judge:


                                   Exhibit A                                                                                             Exhibit B
   (To be completed if debtor is required to file periodic reports                                                      (To be completed if debtor is an individual
   (e.g., forms 10K and 10Q) with the Securities and Exchange                                                           whose debts are primarily consumer debts)
   Commission pursuant to Section 13 or 15(d) of the Securities                        I, the attorney for the petitioner named in the foregoing petition, declare that I
   Exchange Act of 1934 and is requesting relief under Chapter 11)                     have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12
                                                                                       or 13 of title 11, United States Code, and have explained the relief available under
                                                                                       each such chapter. I further certify that I have delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).
       Exhibit A is attached and made a part of this petition                          X     /s/ EDUARDO E. DIEPPA III                                                     04/25/2013
                                                                                              Signature of Attorney for Debtor(s)                                             Date


                                                                                        Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
 or safety?
         Yes, and exhibit C is attached and made a part of this petition.
         No

                                                                                    Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

           Exhibit D, completed and signed by the debtor, is attached and made part of this petition.
 If this is a joint petition:
         Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                    Information Regarding the Debtor - Venue
                                                                          (Check any applicable box)

     Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
     preceding the date of this petition or for a longer part of such 180 days than in any other District.
     There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
     Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
     principal place of business or assets in the United States but is a defendant in an action proceeding [in a federal or state court] in this District, or
     the interests of the parties will be served in regard to the relief sought in this District.

                                               Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                   (Check all applicable boxes.)
             Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)



                                                                                               (Name of landlord that obtained judgment)


                                                                                               (Address of landlord)

             Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
             entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

             Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day
             period after the filing of the petition.

             Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                                           Case 13-19385-LMI                 Doc 1       Filed 04/25/13                Page 3 of 47
B1 (Official Form 1) (4/13)                                                                                                                              FORM B1, Page   3
 Voluntary Petition                                                                    Name of Debtor(s):
   (This page must be completed and filed in every case)
                                                                                         Gwendolyn L Smith
                                                                              Signatures
                    Signature(s) of Debtor(s) (Individual/Joint)                                       Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this
petition is true and correct.                                                        I declare under penalty of perjury that the information provided in this
[If petitioner is an individual whose debts are primarily consumer debts             petition is true and correct, that I am the foreign representative of a debtor
and has chosen to file under chapter 7] I am aware that I may proceed                in a foreign proceeding, and that I am authorized to file this petition.
under chapter 7, 11, 12, or 13 of title 11, United States Code,
understand the relief available under each such chapter, and choose to               (Check only one box.)
proceed under chapter 7.
                                                                                         I request relief in accordance with chapter 15 of title 11, United States
[If no attorney represents me and no bankruptcy petition preparer
                                                                                         Code. Certified copies of the documents required by 11 U.S.C. § 1515
signs the petition] I have obtained and read the notice required by
                                                                                         are attached.
11 U.S.C. §342(b)
                                                                                         Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States               chapter of title 11 specified in this petition. A certified copy of the
Code, specified in this petition.                                                        order granting recognition of the foreign main proceeding is attached.
 X /s/ Gwendolyn L Smith
     Signature of Debtor                                                             X
                                                                                         (Signature of Foreign Representative)
 X
     Signature of Joint Debtor

                                                                                         (Printed name of Foreign Representative)
     Telephone Number (if not represented by attorney)

     04/25/2013                                                                          (Date)
     Date

                                  Signature of Attorney*
                                                                                                  Signature of Non-Attorney Bankruptcy Petition Preparer
 X /s/ EDUARDO E. DIEPPA III                                                     I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Signature of Attorney for Debtor(s)                                         preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                 compensation and have provided the debtor with a copy of this document
     EDUARDO E. DIEPPA III 832901
     Printed Name of Attorney for Debtor(s)
                                                                                 and the notices and information required under 11 U.S.C. §§ 110(b), 110
                                                                                 (h), and 342(b); and, (3) if rules or guidelines have been promulgated
     DIEPPA LAW FIRM, P.A.                                                       pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
     Firm Name                                                                   bankruptcy petition preparers, I have given the debtor notice of the
                                                                                 maximum amount before preparing any document for filing for a debtor
     2097 WEST 76 STREET                                                         or accepting any fee from the debtor, as required in that section. Official
     Address                                                                     Form 19 is attached.


     Hialeah, FL                      33016
                                                                                     Printed Name and title, if any, of Bankruptcy Petition Preparer
     3058268266
     Telephone Number
                                                                                     Social-Security number (If the bankruptcy petition preparer is not an
     04/25/2013                                                                      individual, state the Social-Security number of the officer, principal,
     Date                                                                            responsible person or partner of the bankruptcy petition preparer.)
                                                                                     (Required by 11 U.S.C. § 110.)
 *In a case in which § 707(b)(4)(D) applies, this signature also
 constitutes a certification that the attorney has no knowledge
 after an inquiry that the information in the schedules is incorrect.                Address

                    Signature of Debtor (Corporation/Partnership)
                                                                                 X
I declare under penalty of perjury that the information provided
in this petition is true and correct, and that I have been
authorized to file this petition on behalf of the debtor.                             Date
                                                                                     Signature of bankruptcy petition preparer or officer, principal,
The debtor requests the relief in accordance with the chapter of                     responsible person, or partner whose Social-Security number is provided
title 11, United States Code, specified in this petition.                            Names and Social-Security numbers of all other individuals who prepared
                                                                                     or assisted in preparing this document unless the bankruptcy petition
                                                                                     preparer is not an individual.
 X
     Signature of Authorized Individual



     Printed Name of Authorized Individual
                                                                                     If more than one person prepared this document, attach additional
                                                                                     sheets conforming to the appropriate official form for each person.
     Title of Authorized Individual                                                  A bankruptcy petition preparer’s failure to comply with the provisions of title
                                                                                     11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                     imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
     Date
                                    Case 13-19385-LMI
B 1D (Official Form 1, Exhibit D) (12/09)                               Doc 1        Filed 04/25/13              Page 4 of 47


                                            UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF FLORIDA
                                                    SOUTHERN DIVISION

In re Gwendolyn L Smith                                                                                                   Case No.
                                                                                                                                       (if known)


                                            Debtor(s)




            EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                             CREDIT COUNSELING REQUIREMENT
     WARNING: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed and
you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps to stop
creditors' collection activities.


       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate
Exhibit D. Check one of the five statements below and attach any documents as directed.

                 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.


                 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the services provided to you and
a copy of any debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


                 3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the
services during the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver
of the credit counseling requirement so I can file my bankruptcy case now.
[Summarize exigent circumstances here.]




   If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after you
file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy of any
debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your case.
Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may also be
dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit counseling
briefing.
                                     Case 13-19385-LMI
 B 1D (Official Form 1, Exhibit D) (12/09)                                Doc 1         Filed 04/25/13             Page 5 of 47

               4. I am not required to receive a credit counseling briefing because of:         [Check the applicable statement]
[Must be accompanied by a motion for determination by the court.]
                           Incapacity. (Defined in 11 U.S.C. § 109 (h)(4) as impaired by reason of mental illness or mental deficiency
                  so as to be incapable of realizing and making rational decisions with respect to financial responsibilities.);
                           Disability. (Defined in 11 U.S.C. § 109 (h)(4) as physically impaired to the extent of being unable, after
                  reasonable effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                           Active military duty in a military combat zone.


                  5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement
 of 11 U.S.C. § 109(h) does not apply in this district.


        I certify under penalty of perjury that the information provided above is true and correct.

                                    Signature of Debtor:       /s/ Gwendolyn L Smith
                                    Date:    04/25/2013
                                     Case 13-19385-LMI
B6 Summary (Official Form 6 - Summary) (12/07)                           Doc 1         Filed 04/25/13             Page 6 of 47



                                            UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF FLORIDA
                                                    SOUTHERN DIVISION
   In re Gwendolyn L Smith                                                                                                   Case No.
                                                                                                                             Chapter 7


                                                                                                               / Debtor




                                                          SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the
boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all claims from Schedules D, E, and
F to determine the total amount of the debtor's liabilities. Individual debtors must also complete the "Statistical Summary of Certain Liabilities and Related Data"if they
file a case under chapter 7, 11, or 13.




                                          Attached           No. of
       NAME OF SCHEDULE                   (Yes/No)           Sheets                  ASSETS                         LIABILITIES                        OTHER

 A-Real Property
                                             Yes                1        $                35,312.00

 B-Personal Property
                                             Yes                5        $                     970.00

 C-Property Claimed as
   Exempt
                                             Yes                3

 D-Creditors Holding Secured
   Claims
                                             Yes                1                                          $                       0.00

 E-Creditors Holding
   Unsecured Priority Claims                 Yes                1                                          $                       0.00
   (Total of Claims on Schedule E)

 F-Creditors Holding
   Unsecured Nonpriority Claims
                                             Yes               10                                          $              20,704.32

 G-Executory Contracts and
   Unexpired Leases
                                             Yes                1

 H-Codebtors
                                             Yes                1

 I-Current Income of Individual
   Debtor(s)
                                             Yes                1                                                                          $                1,069.00

 J-Current Expenditures of
   Individual Debtor(s)
                                             Yes                1                                                                          $                1,080.25

                                  TOTAL                       25         $                36,282.00 $                     20,704.32
                                      Case 13-19385-LMI
B6 Summary (Official Form 6 - Summary) (12/07)                            Doc 1        Filed 04/25/13             Page 7 of 47



                                               UNITED STATES BANKRUPTCY COURT
                                                SOUTHERN DISTRICT OF FLORIDA
                                                      SOUTHERN DIVISION
   In re Gwendolyn L Smith                                                                                                       Case No.
                                                                                                                                 Chapter 7



                                                                                                               / Debtor



      STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C § 159)
 If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. § 101(8), filing a case under
 chapter 7, 11, or 13, you must report all information requested below.


     Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any information here.



 This information is for statistical purposes only under 28 U.S.C. § 159.

 Summarize the following types of liabilities, as reported in the Schedules, and total them.

   Type of Liability                                                                                              Amount
   Domestic Support Obligations (from Schedule E)                                                                 $   0.00
   Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                                     $   0.00
   Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
   disputed or undisputed)                                                                                        $   0.00
   Student Loan Obligations (from Schedule F)                                                                     $   0.00
   Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on                         $   0.00
   Schedule E
   Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)                      $   0.00
                                                                                                     TOTAL        $   0.00

 State the following:


   Average Income (from Schedule I, Line 16)                                                                          $   1,069.00
   Average Expenses (from Schedule J, Line 18)                                                                        $   1,080.25
   Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C Line 20)                         $   1,169.00
 State the following:


   1. Total from Schedule D, "UNSECURED PORTION, IF ANY" column                                                                                  $   0.00
   2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY" column                                                     $   0.00
   3. Total from Schedule E, "AMOUNT NOT ENTITLED TO PRIORITY, IF ANY" column                                                                    $   0.00
   4. Total from Schedule F                                                                                                                      $   20,704.32
   5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                                                  $   20,704.32
                                       Case 13-19385-LMI
B6 Declaration (Official Form 6 - Declaration) (12/07)                    Doc 1        Filed 04/25/13             Page 8 of 47


In re Gwendolyn L Smith                                                                                                      Case No.
                                                         Debtor                                                                                                   (if known)




                                DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                DECLARATION UNDER PENALTY OF PERJURY BY AN INDIVIDUAL DEBTOR

      I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of           26    sheets, and that they are true and
      correct to the best of my knowledge, information and belief.



      Date:   4/25/2013                                       Signature   /s/ Gwendolyn L Smith
                                                                          Gwendolyn L Smith




                                                                     [If joint case, both spouses must sign.]



     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.




    CERTIFICATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER                                                              (See 11.U.S.C. § 110)

I certify that I am a bankruptcy preparer as defined in 11 U.S.C. § 110, that I prepared this document for compensation, and that I have provided the debtor
with a copy of this document.

Preparer:                                                                                            Social security No. :




Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document:




If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.




X                                                                                                  Date:



A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.


     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
FORM B6A (Official Form 6A) (12/07)   Case 13-19385-LMI          Doc 1       Filed 04/25/13            Page 9 of 47


In re Gwendolyn L Smith                                                                          ,                Case No.
                                      Debtor(s)                                                                                                (if known)


                                                  SCHEDULE A-REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers
exercisable for the debtor’s own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property
by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write
“None” under “Description and Location of Property.”
Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory
Contracts and Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

                                                                                                                      Current
              Description and Location of Property                         Nature of Debtor's                                              Amount of
                                                                                                                       Value
                                                                          Interest in Property                   of Debtor's Interest,
                                                                                                                                         Secured Claim
                                                                                                   Husband--H    in Property Without
                                                                                                      Wife--W       Deducting any
                                                                                                      Joint--J    Secured Claim or
                                                                                                 Community--C         Exemption


2029 Nw 49 Street, Miami, FL 33142                            Joint Tenants in Common                        J       $35,312.00                   $0.00




No continuation sheets attached                                                            TOTAL $                   35,312.00
                                                                    (Report also on Summary of Schedules.)
B6B (Official Form 6B) (12/07)                Case 13-19385-LMI        Doc 1        Filed 04/25/13             Page 10 of 47

In re Gwendolyn L Smith                                                                                   ,                  Case No.
                                                  Debtor(s)                                                                                                      (if known)


                                                       SCHEDULE B-PERSONAL PROPERTY
Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the
marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts
and Unexpired Leases.
If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If
the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                                                      Current
               Type of Property                    N            Description and Location of Property                                                   Value
                                                                                                                                                of Debtor's Interest,
                                                   o                                                                        Husband--H          in Property Without
                                                                                                                                Wife--W            Deducting any
                                                   n                                                                                             Secured Claim or
                                                                                                                               Joint--J
                                                   e                                                                      Community--C               Exemption


1. Cash on hand.                                       Cash                                                                            H                        $20.00
                                                       Location: In debtor's possession


2. Checking, savings or other financial            X
   accounts, certificates of deposit, or shares
   in banks, savings and loan, thrift, building
   and loan, and homestead associations, or
   credit unions, brokerage houses, or
   cooperatives.

3. Security deposits with public utilities,        X
   telephone companies, landlords, and
   others.
4. Household goods and furnishings,                    Air Conditioner                                                                                          $25.00
   including audio, video, and computer
   equipment.                                          Location: In debtor's possession


                                                       Bedroom Furniture                                                                                        $10.00
                                                       Location: In debtor's possession


                                                       China                                                                                                    $25.00
                                                       Location: In debtor's possession


                                                       Computer Equipment                                                                                       $50.00
                                                       Location: In debtor's possession


                                                       Den Furniture                                                                                            $25.00
                                                       Location: In debtor's possession


                                                       Dining Room Furniture                                                                                    $10.00
                                                       Location: In debtor's possession



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In re Gwendolyn L Smith                                                                 ,           Case No.
                                   Debtor(s)                                                                                       (if known)


                                        SCHEDULE B-PERSONAL PROPERTY
                                                          (Continuation Sheet)

                                                                                                                       Current
             Type of Property       N            Description and Location of Property                                   Value
                                                                                                                  of Debtor's Interest,
                                    o                                                               Husband--H    in Property Without
                                                                                                        Wife--W      Deducting any
                                    n                                                                              Secured Claim or
                                                                                                       Joint--J
                                    e                                                             Community--C         Exemption




                                        Dryer                                                                                  $100.00
                                        Location: In debtor's possession


                                        Freezer                                                                                $100.00
                                        Location: In debtor's possession


                                        Kitchen Appliances                                                   H                     $5.00
                                        Location: In debtor's possession


                                        Lawn Furniture                                                                           $35.00
                                        Location: In debtor's possession


                                        Lawn Mower                                                                               $15.00
                                        Location: In debtor's possession


                                        Living Room Furniture                                                                    $75.00
                                        Location: In debtor's possession


                                        Musical Instruments                                                                      $10.00
                                        Location: In debtor's possession


                                        Refrigerator                                                                           $100.00
                                        Location: In debtor's possession


                                        Silver                                                                                   $15.00
                                        Location: In debtor's possession


                                        Sterios and Radios                                                                       $25.00
                                        Location: In debtor's possession




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In re Gwendolyn L Smith                                                                              ,           Case No.
                                                Debtor(s)                                                                                       (if known)


                                                     SCHEDULE B-PERSONAL PROPERTY
                                                                       (Continuation Sheet)

                                                                                                                                    Current
              Type of Property                   N            Description and Location of Property                                   Value
                                                                                                                               of Debtor's Interest,
                                                 o                                                               Husband--H    in Property Without
                                                                                                                     Wife--W      Deducting any
                                                 n                                                                              Secured Claim or
                                                                                                                    Joint--J
                                                 e                                                             Community--C         Exemption

                                                     Stove/Microwave                                                                        $100.00
                                                     Location: In debtor's possession


                                                     Television                                                                               $25.00
                                                     Location: In debtor's possession


                                                     VCR's                                                                                    $10.00
                                                     Location: In debtor's possession


                                                     Washing Machine                                                                        $100.00
                                                     Location: In debtor's possession


                                                     Yard Tools                                                                                 $5.00
                                                     Location: In debtor's possession


5. Books, pictures and other art objects,            Paintings/Art                                                                              $5.00
   antiques, stamp, coin, record, tape,
   compact disc, and other collections or            Location: In debtor's possession
   collectibles.



6. Wearing apparel.                                  Clothing and Personal                                                                    $50.00
                                                     Location: In debtor's possession


7. Furs and jewelry.                                 Jewelry                                                                                  $10.00
                                                     Location: In debtor's possession


8. Firearms and sports, photographic, and            Piano                                                                                    $15.00
   other hobby equipment.
                                                     Location: In debtor's possession


                                                     Recreational Equipment                                                                     $5.00
                                                     Location: In debtor's possession


9. Interests in insurance policies. Name         X
   insurance company of each policy and
   itemize surrender or refund value of each.




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B6B (Official Form 6B) (12/07)                 Case 13-19385-LMI      Doc 1       Filed 04/25/13          Page 13 of 47

In re Gwendolyn L Smith                                                                               ,           Case No.
                                                   Debtor(s)                                                                                     (if known)


                                                        SCHEDULE B-PERSONAL PROPERTY
                                                                        (Continuation Sheet)

                                                                                                                                     Current
               Type of Property                     N          Description and Location of Property                                   Value
                                                                                                                                of Debtor's Interest,
                                                    o                                                             Husband--H    in Property Without
                                                                                                                      Wife--W      Deducting any
                                                    n                                                                            Secured Claim or
                                                                                                                     Joint--J
                                                    e                                                           Community--C         Exemption

10. Annuities. Itemize and name each issuer.        X

11. Interest in an education IRA as                 X
    defined in 26 U.S.C. 530(b)(1) or under
    a qualified State tuition plan as defined in
    26 U.S.C. 529(b)(1). Give particulars.
    (File separately the record(s) of any such
    interest(s). 11 U.S.C. 521(c).)

12. Interests in IRA, ERISA, Keogh, or other        X
    pension or profit sharing plans. Give
    particulars.
13. Stock and interests in incorporated and         X
    unincorporated businesses. Itemize.

14. Interests in partnerships or joint ventures.    X
    Itemize.

15. Government and corporate bonds and              X
    other negotiable and non-negotiable
    instruments.
16. Accounts Receivable.                            X

17. Alimony, maintenance, support, and              X
    property settlements to which the debtor
    is or may be entitled. Give particulars.
18. Other liquidated debts owed to debtor           X
    including tax refunds. Give particulars.

19. Equitable or future interests, life estates,    X
    and rights or powers exercisable for the
    benefit of the debtor other than those
    listed in Schedule of Real Property.

20. Contingent and non-contingent interests         X
    in estate of a decedent, death benefit
    plan, life insurance policy, or trust.
21. Other contingent and unliquidated claims        X
    of every nature, including tax refunds,
    counterclaims of the debtor, and rights to
    setoff claims. Give estimated value of
    each.

22. Patents, copyrights, and other intellectual     X
    property. Give particulars.

23. Licenses, franchises, and other general         X
    intangibles. Give particulars.

24. Customer lists or other compilations            X
    containing personally identifiable
    information (as described in 11 U.S.C.
    101(41A)) provided to the debtor by
    individuals in connection with obtaining
    a product or service from the debtor
    primarily for personal, family, or
    household purposes.
25. Automobiles, trucks, trailers and other         X
    vehicles and accessories.

26. Boats, motors, and accessories.                 X




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B6B (Official Form 6B) (12/07)                Case 13-19385-LMI    Doc 1       Filed 04/25/13          Page 14 of 47

In re Gwendolyn L Smith                                                                            ,               Case No.
                                                Debtor(s)                                                                                             (if known)


                                                     SCHEDULE B-PERSONAL PROPERTY
                                                                     (Continuation Sheet)

                                                                                                                                          Current
                 Type of Property                N          Description and Location of Property                                           Value
                                                                                                                                     of Debtor's Interest,
                                                 o                                                                 Husband--H        in Property Without
                                                                                                                       Wife--W          Deducting any
                                                 n                                                                                    Secured Claim or
                                                                                                                      Joint--J
                                                 e                                                               Community--C             Exemption

27. Aircraft and accessories.                    X

28. Office equipment, furnishings, and           X
    supplies.

29. Machinery, fixtures, equipment and           X
    supplies used in business.

30. Inventory.                                   X

31. Animals.                                     X

32. Crops - growing or harvested.                X
    Give particulars.

33. Farming equipment and implements.            X

34. Farm supplies, chemicals, and feed.          X

35. Other personal property of any kind not      X
    already listed. Itemize.




Page       5      of   5                                                                                      Total                               $970.00
                                                                                                                  (Report total also on Summary of Schedules.)
                                                                                                        Include amounts from any continuation sheets attached.
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In re
        Gwendolyn L Smith                                                                       ,                  Case No.
                                       Debtor(s)                                                                                                    (if known)


                                    SCHEDULE C-PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:           Check if debtor claims a homestead exemption that exceeds $155,675.*
(Check one box)
   11 U.S.C. § 522(b) (2)
   11 U.S.C. § 522(b) (3)




                                                                    Specify Law                                 Value of                  Current
             Description of Property                               Providing each                               Claimed              Value of Property
                                                                     Exemption                                 Exemption             Without Deducting
                                                                                                                                        Exemptions


2029 Nw 49 Street, Miami, FL                        Fl. Const.Art. 10 §4(a)(1), FSA                            $ 35,312.00               $ 35,312.00
33142                                               §§222.01, 222.02, 222.05

Cash                                                Fl Const. Art. 10 §4(a)(2), FSA                                   $ 20.00                    $ 20.00
                                                    §222.061

Air Conditioner                                     Fl Const. Art. 10 §4(a)(2), FSA                                   $ 25.00                    $ 25.00
                                                    §222.061

Bedroom Furniture                                   Fl Const. Art. 10 §4(a)(2), FSA                                   $ 10.00                    $ 10.00
                                                    §222.061

China                                               Fl Const. Art. 10 §4(a)(2), FSA                                   $ 25.00                    $ 25.00
                                                    §222.061

Computer Equipment                                  Fl Const. Art. 10 §4(a)(2), FSA                                   $ 50.00                    $ 50.00
                                                    §222.061

Den Furniture                                       Fl Const. Art. 10 §4(a)(2), FSA                                   $ 25.00                    $ 25.00
                                                    §222.061

Dining Room Furniture                               Fl Const. Art. 10 §4(a)(2), FSA                                   $ 10.00                    $ 10.00
                                                    §222.061

Dryer                                               Fl Const. Art. 10 §4(a)(2), FSA                                 $ 100.00                     $ 100.00
                                                    §222.061

Freezer                                             Fl Const. Art. 10 §4(a)(2), FSA                                 $ 100.00                     $ 100.00
                                                    §222.061

Kitchen Appliances                                  Fl Const. Art. 10 §4(a)(2), FSA                                    $ 5.00                      $ 5.00
                                                    §222.061



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* Amount subject to adjustment on 4/1/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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In re
        Gwendolyn L Smith                                                               ,               Case No.
                                       Debtor(s)                                                                                    (if known)


                                 SCHEDULE C-PROPERTY CLAIMED AS EXEMPT
                                                               (Continuation Sheet)

                                                                 Specify Law                          Value of              Current
             Description of Property                            Providing each                        Claimed          Value of Property
                                                                  Exemption                          Exemption         Without Deducting
                                                                                                                          Exemptions


Lawn Furniture                                     Fl Const. Art. 10 §4(a)(2), FSA                        $ 35.00                $ 35.00
                                                   §222.061

Lawn Mower                                         Fl Const. Art. 10 §4(a)(2), FSA                        $ 15.00                $ 15.00
                                                   §222.061

Living Room Furniture                              Fl Const. Art. 10 §4(a)(2), FSA                        $ 75.00                $ 75.00
                                                   §222.061

Musical Instruments                                Fl Const. Art. 10 §4(a)(2), FSA                        $ 10.00                $ 10.00
                                                   §222.061

Refrigerator                                       Fl Const. Art. 10 §4(a)(2), FSA                       $ 100.00               $ 100.00
                                                   §222.061

Silver                                             Fl Const. Art. 10 §4(a)(2), FSA                        $ 15.00                $ 15.00
                                                   §222.061

Sterios and Radios                                 Fl Const. Art. 10 §4(a)(2), FSA                        $ 25.00                $ 25.00
                                                   §222.061

Stove/Microwave                                    Fl Const. Art. 10 §4(a)(2), FSA                       $ 100.00               $ 100.00
                                                   §222.061

Television                                         Fl Const. Art. 10 §4(a)(2), FSA                        $ 25.00                $ 25.00
                                                   §222.061

VCR's                                              Fl Const. Art. 10 §4(a)(2), FSA                        $ 10.00                $ 10.00
                                                   §222.061

Washing Machine                                    Fl Const. Art. 10 §4(a)(2), FSA                       $ 100.00               $ 100.00
                                                   §222.061

Yard Tools                                         Fl Const. Art. 10 §4(a)(2), FSA                          $ 5.00                $ 5.00
                                                   §222.061

Paintings/Art                                      Fl Const. Art. 10 §4(a)(2), FSA                          $ 5.00                $ 5.00
                                                   §222.061




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* Amount subject to adjustment on 4/1/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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In re
        Gwendolyn L Smith                                                               ,               Case No.
                                       Debtor(s)                                                                                    (if known)


                                 SCHEDULE C-PROPERTY CLAIMED AS EXEMPT
                                                               (Continuation Sheet)

                                                                 Specify Law                          Value of              Current
             Description of Property                            Providing each                        Claimed          Value of Property
                                                                  Exemption                          Exemption         Without Deducting
                                                                                                                          Exemptions


Clothing and Personal                              Fl Const. Art. 10 §4(a)(2), FSA                        $ 50.00                $ 50.00
                                                   §222.061

Jewelry                                            Fl Const. Art. 10 §4(a)(2), FSA                        $ 10.00                $ 10.00
                                                   §222.061

Piano                                              Fl Const. Art. 10 §4(a)(2), FSA                        $ 15.00                $ 15.00
                                                   §222.061

Recreational Equipment                             Fl Const. Art. 10 §4(a)(2), FSA                          $ 5.00                $ 5.00
                                                   §222.061




    Page No.      3 of       3

* Amount subject to adjustment on 4/1/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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B6D (Official Form 6D) (12/07)



In re Gwendolyn L Smith                                                                             ,                                    Case No.
                                          Debtor(s)                                                                                                                              (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

           State the name, mailing address, including zip code, and last four digits of any account number of all entities holding
claims secured by property of the debtor as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List
creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust,
and other security interests.
           List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the
continuation sheet provided.
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled
“Codebtor,” include the entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is
filed, state whether the husband, wife, both of them, or the marital community may be liable on each claim by placing an “H,” “W,”
“J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
           If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the
column labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an
“X” in more than one of these three columns.)
           Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the
boxes labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim
Without Deducting Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily
consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
Liabilities and Related Data.




   Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                Creditor's Name and                           Date Claim was Incurred, Nature                                         Amount of Claim                   Unsecured
                  Mailing Address                             of Lien, and Description and Market                                           Without                   Portion, If Any
                                                                                                                    Unliquidated




              Including ZIP Code and
                                                                                                                    Contingent




                                                              Value of Property Subject to Lien
                                                  Co-Debtor




                                                                                                                                      Deducting Value
                                                                                                                    Disputed




                  Account Number
              (See Instructions Above.)                       H--Husband                                                                 of Collateral
                                                              W--Wife
                                                              J--Joint
                                                              C--Community
Account No:




                                                                 Value:
Account No:




                                                                 Value:
No continuation sheets attached                                                                                Subtotal $                           $ 0.00                          $ 0.00
                                                                                                            (Total of this page)
                                                                                                                     Total $                        $ 0.00                          $ 0.00
                                                                                                        (Use only on last page)
                                                                                                                                   (Report also on Summary of   (If applicable, report also on
                                                                                                                                   Schedules.)                  Statistical Summary of
                                                                                                                                                                Certain Liabilities and
                                                                                                                                                                Related Data)
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In re Gwendolyn L Smith                                                                                  ,                             Case No.
                                            Debtor(s)                                                                                                    (if known)
               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

         A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

       The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them
or the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community." If
the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If
the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E
in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

        Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily
consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

         Report the total of amounts NOT entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

     Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

     Domestic Support Obligations
     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
     or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
     provided in 11 U.S.C. § 507(a)(1).

     Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
     the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

     Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
     qualifying independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original
     petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

     Contributions to employee benefit plans
     Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

     Certain farmers and fishermen
     Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

     Deposits by individuals
     Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household
     use, that were not delivered or provided. 11 U.S.C. § 507(a)(7).

     Taxes and Certain Other Debts Owed to Governmental Units
     Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

     Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of
     the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507
     (a)(9).
     Claims for Death or Personal Injury While Debtor Was Intoxicated
     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
     alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
  * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                        No continuation sheets attached
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B6F (Official Form 6F) (12/07)


In re Gwendolyn L Smith                                                                                           ,                                   Case No.
                                         Debtor(s)                                                                                                                                                        (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
         State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without
priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a
creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all
creditors will not fit on this page, use the continuation sheet provided.

     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of
them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or
Community."

         If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three
columns.)

       Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules. Report this total also on
the Summary of Schedules, and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of
Certain Liabilities and Related Data.



   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.


         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor




                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          2313
Account No:                                                             2011-03-23                                                                                                                    $ 1,170.00
Creditor # : 1                                                          Medical Bills
Anne Bates Leach Eye
PO Box 11879
Fort Lauderdale FL 33339-1879



Account No:     2313
Representing:                                                           BCA FINANCIAL SERVICES
                                                                        18001 OLD CUTLER RD STE
                                                                        PALMETTO BAY FL 33157
Anne Bates Leach Eye



          9184
Account No:                                                             6/20/2007                                                                                                                        $ 595.00
Creditor # : 2                                                          Past due Fees
Check$mart
7001 Post Road
Suite 200
Dublin OH 43016-8755


     9 continuation sheets attached                                                                                                                 Subtotal $                                        $ 1,765.00
                                                                                                                                                                    Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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B6F (Official Form 6F) (12/07)   - Cont.


In re Gwendolyn L Smith                                                                                           ,                                   Case No.
                                           Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          0608
Account No:                                                             2011-11-28                                                                                                                       $ 111.00
Creditor # : 3                                                          Financing Services
Doubleday Large Prin
Member Service Center
PO Box 916400
Rantoul IL 61866-6400


Account No:     0608
Representing:                                                           RJM ACQ LLC
                                                                        575 UNDERHILL BLVD STE 2
                                                                        SYOSSET NY 11791
Doubleday Large Prin



          0705
Account No:                                                             06/26/09                                                                                                                         $ 266.23
Creditor # : 4                                                          Medical Bills
Dr. Alan D Pierce MD PA
PO Box 4279
Deerfield Beach FL 33442-4279



          1075
Account No:                                                             2012-01-06                                                                                                                       $ 795.00
Creditor # : 5                                                          Medical Bills
Empi Inc.
Attn: Legal Department
Po Box 71519
Chicago IL 60694-1519


Account No:     1075
Representing:                                                           PINNACLE FINANCIAL GRO
                                                                        7825 WASHINGTON AVE S ST
                                                                        MINNEAPOLIS MN 55439
Empi      Inc.




Sheet No.      1 of        9 continuation sheets attached to Schedule of                                                                            Subtotal $                                        $ 1,172.23
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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In re Gwendolyn L Smith                                                                                           ,                                   Case No.
                                           Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          1077
Account No:                                                             2012-01-06                                                                                                                       $ 287.00
Creditor # : 6                                                          Medical Bills
Empi Inc.
Attn: Legal Department
Po Box 71519
Chicago IL 60694-1519


Account No:     1077
Representing:                                                           PINNACLE FINANCIAL GRO
                                                                        7825 WASHINGTON AVE S ST
                                                                        MINNEAPOLIS MN 55439
Empi      Inc.



          9926
Account No:                                                             08/28/11                                                                                                                      $ 1,689.79
Creditor # : 7                                                          Medical Bills
Empi Inc.
Attn: Legal Department
Po Box 71519
Chicago IL 60694-1519


Account No:     9926
Representing:                                                           Integrity Solution Services
                                                                        7825 Washington Ave. S.
                                                                        Suite 200
Empi      Inc.                                                          Minneapolis MN 55439-2400



          1076
Account No:                                                             2012-01-06                                                                                                                       $ 608.00
Creditor # : 8                                                          Medical Bills
Empi Inc.
Attn: Legal Department
Po Box 71519
Chicago IL 60694-1519




Sheet No.      2 of        9 continuation sheets attached to Schedule of                                                                            Subtotal $                                        $ 2,584.79
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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B6F (Official Form 6F) (12/07)   - Cont.


In re Gwendolyn L Smith                                                                                           ,                                   Case No.
                                           Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:     1076
Representing:                                                           PINNACLE FINANCIAL GRO
                                                                        7825 WASHINGTON AVE S ST
                                                                        MINNEAPOLIS MN 55439
Empi      Inc.



          3907
Account No:                                                             2008-08-01                                                                                                                       $ 297.00
Creditor # : 9
Emrg Med Spec O




Account No:     3907
Representing:

Emrg Med Spec O



          8319
Account No:                                                             2008-07-01                                                                                                                       $ 297.00
Creditor # : 10
Emrg Med Spec O




Account No:     8319
Representing:

Emrg Med Spec O




Sheet No.      3 of        9 continuation sheets attached to Schedule of                                                                            Subtotal $                                           $ 594.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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B6F (Official Form 6F) (12/07)   - Cont.


In re Gwendolyn L Smith                                                                                           ,                                   Case No.
                                           Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          4570
Account No:                                                             2009-06-02                                                                                                                       $ 402.00
Creditor # : 11                                                         Credit Card Purchases
First Premier Bank
601 S Minnesota Ave
Sioux Falls SD 57104



          3460
Account No:                                                             7/6/2011                                                                                                                         $ 380.63
Creditor # : 12                                                         Credit Card Purchases
Household Bank SB NA
Card Services
PO Box 60501
City of Industry CA 91716-0501


Account No:     3460
Representing:                                                           Portfolio Recovery Associates
                                                                        PO Box 12914
                                                                        Norfolk VA 23541
Household Bank SB NA



          0898
Account No:                                                             6/24/2009                                                                                                                        $ 769.00
Creditor # : 13                                                         Financing Services
Macy's Fur Storage Department
4130 Gandy Blvd.
Tampa FL 33611



          7843
Account No:                                                             12/20/06                                                                                                                      $ 2,073.40
Creditor # : 14                                                         Civil Infraction Fines
Miami Dade Clerk of Courts
73 West Flagler Street
Suite # 242
Miami FL 33130




Sheet No.      4 of        9 continuation sheets attached to Schedule of                                                                            Subtotal $                                        $ 3,625.03
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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B6F (Official Form 6F) (12/07)   - Cont.


In re Gwendolyn L Smith                                                                                            ,                                   Case No.
                                           Debtor(s)                                                                                                                                                       (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)




         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                           Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                       Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                        Contingent
                                                                               If Claim is Subject to Setoff, so State.




                                                                                                                                                                                      Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:     7843
Representing:                                                           Corey A Hamilton
                                                                        Linebarger Goggan Blair & Samp
                                                                        44 W Flagler St Ste 1715
Miami Dade Clerk of Courts                                              Miami FL 33130-6805



          0866
Account No:                                                         H   04/2009                                                                                                                        $ 5,430.37
Creditor # : 15                                                         Rent in Arrears
Miami Dade Public Housing Auth
325 NW 62nd Street
Miami FL 33150



          855O
Account No:                                                             2009-05-13                                                                                                                        $ 312.00
Creditor # : 16                                                         Credit Card Purchases
Midnight Velvet
1112 7th Ave
Monroe WI 53566



          9304
Account No:                                                             2008-06-10                                                                                                                        $ 550.00
Creditor # : 17                                                         Medical Bills
North Shore Med. Ctr




Account No:     9304
Representing:                                                           CENTRAL FINL CONTROL
                                                                        PO BOX 66051
                                                                        ANAHEIM CA 92816
North Shore Med. Ctr




Sheet No.      5 of        9 continuation sheets attached to Schedule of                                                                             Subtotal $                                        $ 6,292.37
Creditors Holding Unsecured Nonpriority Claims                                                                                                                       Total $
                                                                                (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                        Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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B6F (Official Form 6F) (12/07)   - Cont.


In re Gwendolyn L Smith                                                                                           ,                                   Case No.
                                           Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          3992
Account No:                                                             2008-04-23                                                                                                                       $ 550.00
Creditor # : 18                                                         Medical Bills
North Shore Med. Ctr




Account No:     3992
Representing:                                                           CENTRAL FINL CONTROL
                                                                        PO BOX 66051
                                                                        ANAHEIM CA 92816
North Shore Med. Ctr



          2658
Account No:                                                             11/29/10                                                                                                                         $ 219.38
Creditor # : 19                                                         Medical Bills
Quest Diagnostics
PO Box 4950
Southeastern PA 19398-4950



Account No:     2658
Representing:                                                           Credit Collection Services
                                                                        Two Wells Avenue
                                                                        Newton Center MA 02459
Quest Diagnostics



          8145
Account No:                                                             2011-05-18                                                                                                                    $ 2,238.00
Creditor # : 20                                                         Medical Bills
Univ Of Miami Hospit
Attn: Legal Noticing
PO BOx 100401
Atlanta GA 30384-0401




Sheet No.      6 of        9 continuation sheets attached to Schedule of                                                                            Subtotal $                                        $ 3,007.38
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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B6F (Official Form 6F) (12/07)   - Cont.


In re Gwendolyn L Smith                                                                                           ,                                   Case No.
                                           Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:     8145
Representing:                                                           BCA FINANCIAL SERVICES
                                                                        18001 OLD CUTLER RD STE
                                                                        PALMETTO BAY FL 33157
Univ Of Miami Hospit



          7949
Account No:                                                             2011-03-30                                                                                                                    $ 1,209.00
Creditor # : 21                                                         Medical Bills
Univ Of Miami Hospit
Attn: Legal Noticing
PO BOx 100401
Atlanta GA 30384-0401


Account No:     7949
Representing:                                                           BCA FINANCIAL SERVICES
                                                                        18001 OLD CUTLER RD STE
                                                                        PALMETTO BAY FL 33157
Univ Of Miami Hospit



          6212
Account No:                                                             2012-09-01                                                                                                                        $ 50.00
Creditor # : 22                                                         Medical Bills
University Of Miami
Attn: Legal Notice Department
1320 S Dixie Hwy
Miami FL 33124


Account No:     6212
Representing:                                                           NCO FIN/55
                                                                        605 W EDISON RD SUITE K
                                                                        MISHAWAKA IN 46545
University Of Miami




Sheet No.      7 of        9 continuation sheets attached to Schedule of                                                                            Subtotal $                                        $ 1,259.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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B6F (Official Form 6F) (12/07)   - Cont.


In re Gwendolyn L Smith                                                                                           ,                                   Case No.
                                           Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          2328
Account No:                                                             08/01/2011                                                                                                                       $ 154.58
Creditor # : 23                                                         Financing Services
Wachovia Bank
Wells Fargo Corporate Office
420 Montgomery Street
San Francisco CA 94104


          1942
Account No:                                                             01/17/2007                                                                                                                        $ 54.94
Creditor # : 24                                                         Past due Fees
Wal-Mart
WAL-MART LEGAL DEPARTMENT
702 S.W. 8TH STREET
Bentonville AR 72716


Account No:     1942
Representing:                                                           Palmer Reifler & Associates,PA
                                                                        1900 Summit Tower Blvd
                                                                         Ste 820
Wal-Mart                                                                Orlando FL 32810-5951



          0683
Account No:                                                             02/05/07                                                                                                                         $ 130.00
Creditor # : 25                                                         Past due Fees
Winn-Dixie
PO Box 11075
Cincinnati OH 45211-1075



Account No:     0683
Representing:                                                           United Compucred Collections I
                                                                        PO Box 111100
                                                                        Cincinnati OH 45211-1100
Winn-Dixie




Sheet No.      8 of        9 continuation sheets attached to Schedule of                                                                            Subtotal $                                           $ 339.52
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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B6F (Official Form 6F) (12/07)   - Cont.


In re Gwendolyn L Smith                                                                                           ,                                   Case No.
                                           Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          0683
Account No:                                                             2007-02-05                                                                                                                        $ 65.00
Creditor # : 26                                                         Past due Fees
Winn-Dixie
PO Box 11075
Cincinnati OH 45211-1075



Account No:     0683
Representing:                                                           UNITED COMPUCRED
                                                                        4190 HARRISON AVE
                                                                        CINCINNATI OH 45211
Winn-Dixie



Account No:




Account No:




Account No:




Sheet No.      9 of        9 continuation sheets attached to Schedule of                                                                            Subtotal $                                            $ 65.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of                                      $ 20,704.32
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
B6G (Official Form 6G) (12/07)        Case 13-19385-LMI                    Doc 1         Filed 04/25/13             Page 30 of 47


In re Gwendolyn L Smith                                                                                        / Debtor             Case No.
                                                                                                                                                                        (if known)


                  SCHEDULE G-EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State the nature of
debtor's interests in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing
addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See,
11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).



   Check this box if the debtor has no executory contracts or unexpired leases.

               Name and Mailing Address,                                                        Description of Contract or Lease and
                 Including Zip Code, of                                                              Nature of Debtor's Interest.
                 Other Parties to Lease                                                State whether Lease is for Nonresidential Real Property.
                      or Contract.                                                      State Contract Number of any Government Contract.




                                                                                                                                                         Page      1 of          1
B6H (Official Form 6H) (12/07)     Case 13-19385-LMI           Doc 1       Filed 04/25/13          Page 31 of 47


In re Gwendolyn L Smith                                                                       / Debtor         Case No.
                                                                                                                                            (if known)


                                                    SCHEDULE H-CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the
debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight year period immediately preeceding the commencement of the case, identify the name of the debtors spouse and of
any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by
the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
   Check this box if the debtor has no codebtors.

                        Name and Address of Codebtor                                             Name and Address of Creditor




                                                                                                                                  Page    1 of       1
B6I (Official Form 6I) (12/07)           Case 13-19385-LMI                        Doc 1     Filed 04/25/13          Page 32 of 47



In re Gwendolyn L Smith                                                                                   ,                    Case No.
                                                Debtor(s)                                                                                                 (if known)


                          SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
   Debtor's Marital                                                                DEPENDENTS OF DEBTOR AND SPOUSE
     Status:                       RELATIONSHIP(S):                                                                                AGE(S):
     Divorced



  EMPLOYMENT:                                                   DEBTOR                                                                       SPOUSE

  Occupation                     Unemployed
  Name of Employer
  How Long Employed
  Address of Employer
  INCOME: (Estimate of average or projected monthly income at time case filed)                                            DEBTOR                             SPOUSE
  1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $                            0.00 $                             0.00
  2. Estimate monthly overtime                                                                             $                            0.00 $                             0.00
  3. SUBTOTAL                                                                                              $                            0.00 $                             0.00
  4. LESS PAYROLL DEDUCTIONS
      a. Payroll taxes and social security                                                                 $                            0.00      $                        0.00
      b. Insurance                                                                                         $                            0.00      $                        0.00
      c. Union dues                                                                                        $                            0.00      $                        0.00
      d. Other (Specify): Medicare           Medical Insurance                                             $                          100.00      $                        0.00
  5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $                          100.00 $                             0.00
  6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $                       (100.00)       $                        0.00
  7. Regular income from operation of business or profession or farm (attach detailed statement)           $                           0.00       $                        0.00
  8. Income from real property                                                                             $                           0.00       $                        0.00
  9. Interest and dividends                                                                                $                           0.00       $                        0.00
  10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that          $                         200.00       $                        0.00
  of dependents listed above.
  11. Social security or government assistance
    (Specify): Social Security Payments                                                                    $                          969.00 $                             0.00
  12. Pension or retirement income                                                                         $                            0.00 $                             0.00
  13. Other monthly income
    (Specify):                                                                                             $                            0.00 $                             0.00

  14. SUBTOTAL OF LINES 7 THROUGH 13                                                                          $                    1,169.00 $                              0.00
  15. AVERAGE MONTHLY INCOME               (Add amounts shown on lines 6 and 14)                              $                    1,069.00 $                              0.00
  16. COMBINED AVERAGE MONTHLY INCOME:                 (Combine column totals                                                  $                  1,069.00
    from line 15; if there is only one debtor repeat total reported on line 15)
                                                                                                                  (Report also on Summary of Schedules and, if applicable, on
                                                                                                                   Statistical Summary of Certain Liabilities and Related Data)


  17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:




                                                                                                                                                      Page No.       1 of         1
B6J(Official Form 6J)(12/07)                Case 13-19385-LMI                     Doc 1         Filed 04/25/13               Page 33 of 47




In re Gwendolyn L Smith                                                                                       ,                           Case No.
                                                   Debtor(s)                                                                                                                 (if known)

                          SCHEDULE J-CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR

        Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family. Prorate any payments
made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from
the deductions from income allowed on Form 22 A or 22C.
    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures labeled
    "Spouse."

 1. Rent or home mortgage payment (include lot rented for mobile home)                                                                                   $                         0.00
                                                                             .....................................................................................................................
       a. Are real estate taxes included?        Yes         No
       b. Is property insurance included?        Yes         No
 2. Utilities: a. Electricity and heating fuel                                                                                                            $                    250.00
                                                ..................................................................................................................................................
                b. Water and sewer                                                                                                                        $                      16.66
                c. Telephone       ..............................................................................................................................................................
                                                                                                                                                          $                        0.00
                d. Other      Cell Phones                                                                                                                 $                      42.00
                  Other       Internet
                             ...................................................................................................................................................................
                                                                                                                                                          $                      19.00

 3. Home maintenance (repairs and upkeep)                                                                                                                 $                     100.00
                                                   ..............................................................................................................................................
 4. Food                                                                                                                                             $                     300.00
 5. Clothing                                                                                                                                         $                      50.00
             .................................................................................................................................................................................
 6. Laundry and dry cleaning                                                                                                                         $                        0.00
 7. Medical and dental expenses                                                                                                                           $                     100.00
                                         ........................................................................................................................................................
 8. Transportation (not including car payments)                                                                                                           $                     150.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                                     $                         0.00
                                                                             ..................................................................................................................
 10. Charitable contributions                                                                                                                             $                        0.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
              a. Homeowner's or renter's                                                                                                                  $                         0.00
                                             ....................................................................................................................................................
              b. Life                                                                                                                                     $                        0.00
              c. Health                                                                                                                                  $                         0.00
                           ......................................................................................................................................................................
              d. Auto                                                                                                                                 $                         0.00
              e. Other                                                                                                                                $                         0.00
                      ........................................................................................................................................................................
                Other                                                                                                                                 $                         0.00


  12. Taxes (not deducted from wages or included in home mortgage)
  (Specify)       Property Taxes                                                                                                                          $                      52.59
  13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
           a. Auto                                                                                                                                        $                         0.00
                          ........................................................................................................................................................................
           b. Other:                                                                                                                                      $                        0.00
           c. Other:                                                                                                                                      $                         0.00
                          ........................................................................................................................................................................

  14. Alimony, maintenance, and support paid to others                                                                                                    $                        0.00
                                                              ..................................................................................................................................
  15. Payments for support of additional dependents not living at your home                                                                              $                        0.00
  16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                       $                        0.00
                                                                                                         ....................................................................................
  17. Other:                                                                                                                                             $                        0.00
     Other:                                                                                                                                              $                        0.00
                  ...............................................................................................................................................................................
                                                                                                                                                                                   0.00
  18. AVERAGE MONTHLY EXPENSES Total lines 1-17. Report also on Summary of Schedules                                                                      $                 1,080.25
     and, if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
  19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:


  20. STATEMENT OF MONTHLY NET INCOME
      a. Average monthly income from Line 16 of Schedule I                                                                                                $                 1,069.00
      b. Average monthly expenses from Line 18 above                                                                                                      $                 1,080.25
      c. Monthly net income (a. minus b.)                                                                                                                 $                  (11.25)
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                                            UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF FLORIDA
                                                    SOUTHERN DIVISION

In re: Gwendolyn L Smith                                                                                  ,           Case No.
                                               Debtor                                                                                      (if known)




                                                           STATEMENT OF FINANCIAL AFFAIRS
           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether
or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not diclose the child's name. See, 11
U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

          Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19-25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to
any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.



                                                                           DEFINITIONS
          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case,
any of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor my also be "in
business" for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement
income from the debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporation debtor
and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. §101(2), (31).




          1. Income from employment or operation of business
 None     State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business, including
          part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this case was
          commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that maintains, or has
          maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of
          the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must
          state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




          2. Income other than from employment or operation of business
 None     State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's business during the two years
          immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse separately. (Married
          debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and
          a joint petition is not filed.)

AMOUNT                                                    SOURCE

Year to date: $3351.00                                    Alimony, and Social Security Benefits
   Last Year: $34335.00                                   Social Security, and FL Laborers
Year before: $17283




                                                                                                                   Statement of Affairs - Page 1
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         3. Payments to creditors
None     Complete a. or b., as appropriate, and c.

         a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other debts to any
         creditor, made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that constitutes or is
         affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
         obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors
         filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
         separated and a joint petition is not filed.)




None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately preceding the
         commencement of this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $6,225*. If the debtor is
         an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
         repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors filingunder chapter 12 or chapter 13
         must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
         petition is not filed.)


         * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.




None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or
         were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed,
         unless the spouses are separated and a joint petition is not filed.)




         4. Suits and administrative proceedings, executions, garnishments and attachments
None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this bankruptcy case.
         (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
         the spouses are separated and a joint petition is not filed.)




None     b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding the
         commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
         whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


NAME AND ADDRESS OF PERSON FOR                                               DATE OF
WHOSE BENEFIT PROPERTY WAS SEIZED                                            SEIZURE                     DESCRIPTION AND VALUE OF PROPERTY

Name: Department of the                                                      3/12/12                     Description: Tax Refund Due
Treasury, Internal Revenue                                                                               Value: $3442.86
Service
Address: PO Box 621501, Atlanta,
Georgia 30362-1501


         5. Repossessions, foreclosures and returns
None     List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to the seller,
         within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
         concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




         6. Assignments and receiverships
None     a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case. (Married
         debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed, unless the



                                                                                                                         Statement of Affairs - Page 2
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         spouses are separated and a joint petition is not filed.)




None     b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
         commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
         whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




         7. Gifts
None     List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual gifts to
         family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100 per recipient.
         (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed,
         unless the spouses are separated and a joint petition is not filed.)




         8. Losses
None     List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
         commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a joint
         petition is filed, unless the spouses are separated and a joint petition is not filed.)




         9. Payments related to debt counseling or bankruptcy
None     List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
         consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement of
          this case.

                                                             DATE OF PAYMENT,                   AMOUNT OF MONEY OR
NAME AND ADDRESS OF PAYEE                                    NAME OF PAYER IF OTHER THAN DEBTOR DESCRIPTION AND VALUE OF PROPERTY

Payee: EDUARDO E. DIEPPA III                                 Date of Payment:                                         $1500.00
Address:                                                     Payor: Gwendolyn L Smith
2097 WEST 76 STREET
Hialeah, FL 33016


Payee: Start Fresh Today                                     Date of Payment:                                         $36.00
Credit Counceling                                            Payor: Gwendolyn L Smith


         10. Other transfers
None     a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either absolutely
         or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
         transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




None     b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar device
         of which the debtor is a benificiary.




         11. Closed financial accounts
None     List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise transferred
         within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts, certificates of deposit, or
         other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial


                                                                                                                      Statement of Affairs - Page 3
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         institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both
         spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




         12. Safe deposit boxes
None     List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately preceding
         the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether
         or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




         13. Setoffs
None     List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this case.
         (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
         the spouses are separated and a joint petition is not filed.)




         14. Property held for another person
None     List all property owned by another person that the debtor holds or controls.




         15. Prior address of debtor
None     If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during that
         period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.




         16. Spouses and Former Spouses
None     If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada,
         New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case, identify the name of
         the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.




         17. Environmental Information
None     For the purpose of this question, the following definitions apply:

         "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
         wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating the
         cleanup of these substances, wastes, or material.

         "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
         debtor,
         including, but not limited to disposal sites.

         "Hazardous Material" means anything defined as hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant or
         similar termunder an Environmental Law:

         a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or potentially liable
         under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:




None     b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate the
         governmental unit to which the notice was sent and the date of the notice.




                                                                                                                     Statement of Affairs - Page 4
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 None     c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law, with respect to which the debtor is or was a
          party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.




          18. Nature, location and name of business
 None     a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates of all
          businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole proprietor, or was
          self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
          which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding the commencement of this case

                   If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of
          all businesses     in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately preceding the
          commencment of this case.

                   If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of
          all businesses     in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately preceding the
          commencment of this case.




 None     b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.




            The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or
has been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

             (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)




          19. Books, records and financial statements
 None     a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or supervised the keeping of
          books of account and records of the debtor.




 None     b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the books of account and records,
          or prepared a financial statement of the debtor.




 None     c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the debtor. If
          any of the books of account and records are not available, explain.




                                                                                                                                Statement of Affairs - Page 5
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None     d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by the debtor
         within two years immediately preceding the commencement of this case.




         20. Inventories
None     a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the dollar
         amount and basis of each inventory.




None     b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.




         21. Current Partners, Officers, Directors and Shareholders
None     a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.




None     b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or holds 5
         percent or more of the voting or equity securities of the corporation.




         22. Former partners, officers, directors and shareholders
None     a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement of this case.




None     b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately preceding the
         commencement of this case.




         23. Withdrawals from a partnership or distribution by a corporation
None     If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form, bonuses,
         loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this case.




         24. Tax Consolidation Group.
None     If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax purposes
         of which the debtor has been a member at any time within six years immediately preceeding the commencement of the case.




                                                                                                                              Statement of Affairs - Page 6
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         25. Pension Funds.
None     If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer, has been
         responsible for contributing at any time within six years immediately preceding the commencement of the case.




[If completed by an individual or individual and spouse]


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto and that
they are true and correct.



       Date   04/25/2013                        Signature     /s/ Gwendolyn L Smith
                                                of Debtor


                                                Signature
       Date
                                                of Joint Debtor
                                                (if any)




                                                                                                                  Statement of Affairs - Page 7
 B7 - (Official Form 7) (4/13)         Case 13-19385-LMI                   Doc 1        Filed 04/25/13              Page 41 of 47
    DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h), and
34(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy
petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the
debtor, as required by that section.



Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                              Social-Security No.(Required by 11 U.S.C. § 110.)


If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social-security number of the officer, principal,, responsible
person, or partner who signs this document.




Address



   X
       Signature of Bankruptcy Petition Preparer                                                                            Date




Names and Social-Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
not an individual:




If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in
fines or imprisonment or both. 18 U.S.C. § 156.




                                                                                                                        Statement of Affairs - Page 8
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                                                 UNITED STATES BANKRUPTCY COURT
                                                   SOUTHERN DISTRICT OF FLORIDA
                                                         SOUTHERN DIVISION

In re Gwendolyn L Smith                                                                                               Case No.
                                                                                                                      Chapter 7



                                                                                                           / Debtor




                                                      CHAPTER 7 STATEMENT OF INTENTION
       Part A -    Debts Secured by property of the estate. (Part A must be completed for EACH debt which is secured by property of the estate.
                   Attach additional pages if necessary.)


Property No.

Creditor's Name :                                                                  Describe Property Securing Debt :
 None



  Property will be (check one) :

            Surrendered               Retained

  If retaining the property, I intend to (check at least one) :

            Redeem the property

            Reaffirm the debt

            Other. Explain                                                                                      (for example, avoid lien using 11 U.S.C § 522 (f)).

  Property is (check one) :

            Claimed as exempt                   Not claimed as exempt


       Part B -    Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease. Attach
                   additional pages if necessary.)

Property No.
Lessor's Name:                                                      Describe Leased Property:                                          Lease will be assumed
                                                                                                                                       pursuant to 11 U.S.C. §
 None                                                                                                                                  365(p)(2):

                                                                                                                                           Yes               No




                                                                        Signature of Debtor(s)
        I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt
        and/or personal property subject to an unexpired lease.

Date: 04/25/2013                                                  Debtor: /s/ Gwendolyn L Smith

Date:                                                             Joint Debtor:




                                                                                                                                                    Page    1 of      1
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                                  UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                          SOUTHERN DIVISION


In re Gwendolyn L Smith                                                                    Case No.
                                                                                           Chapter 7
                                                                            / Debtor
    Attorney for Debtor:   EDUARDO E. DIEPPA III



                                       VERIFICATION OF CREDITOR MATRIX


                  The above named Debtor(s) hereby verify that the attached list of creditors is true and correct to the

   best of our knowledge.




Date: 04/25/2013                                                   /s/ Gwendolyn L Smith
                                                                   Debtor
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         Anne Bates Leach Eye
         PO Box 11879
         Fort Lauderdale, FL 33339-1879


         BCA FINANCIAL SERVICES
         18001 OLD CUTLER RD STE
         PALMETTO BAY, FL 33157


         CENTRAL FINL CONTROL
         PO BOX 66051
         ANAHEIM, CA 92816


         Check$mart
         7001 Post Road
         Suite 200
         Dublin, OH 43016-8755


         Corey A Hamilton
         Linebarger Goggan Blair & Samp
         44 W Flagler St Ste 1715
         Miami, FL 33130-6805


         Credit Collection Services
         Two Wells Avenue
         Newton Center, MA 02459


         Doubleday Large Prin
         Member Service Center
         PO Box 916400
         Rantoul, IL 61866-6400


         Dr. Alan D Pierce MD PA
         PO Box 4279
         Deerfield Beach, FL 33442-4279


         Empi Inc.
         Attn: Legal Department
         Po Box 71519
         Chicago, IL 60694-1519
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         Emrg Med Spec O


         First Premier Bank
         601 S Minnesota Ave
         Sioux Falls, SD 57104


         Household Bank SB NA
         Card Services
         PO Box 60501
         City of Industry, CA   91716-0501


         Integrity Solution Services
         7825 Washington Ave. S.
         Suite 200
         Minneapolis, MN 55439-2400


         Internal Revenue Service
         SPF - Bankruptcy
         PO Box 17167 Stop 5760
         Attn: Bankruptcy Unit
         Ft. Lauderdale, FL 33318


         Macy's Fur Storage Department
         4130 Gandy Blvd.
         Tampa, FL 33611


         Miami Dade Clerk of Courts
         73 West Flagler Street
         Suite # 242
         Miami, FL 33130


         Miami Dade Public Housing Auth
         325 NW 62nd Street
         Miami, FL 33150


         Midnight Velvet
         1112 7th Ave
         Monroe, WI 53566


         NCO FIN/55
         605 W EDISON RD SUITE K
         MISHAWAKA, IN 46545
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         North Shore Med. Ctr


         Palmer Reifler & Associates,PA
         1900 Summit Tower Blvd
          Ste 820
         Orlando, FL 32810-5951


         PINNACLE FINANCIAL GRO
         7825 WASHINGTON AVE S ST
         MINNEAPOLIS, MN 55439


         Portfolio Recovery Associates
         PO Box 12914
         Norfolk, VA 23541


         Quest Diagnostics
         PO Box 4950
         Southeastern, PA 19398-4950


         RJM ACQ LLC
         575 UNDERHILL BLVD STE 2
         SYOSSET, NY 11791


         UNITED COMPUCRED
         4190 HARRISON AVE
         CINCINNATI, OH 45211


         United Compucred Collections I
         PO Box 111100
         Cincinnati, OH 45211-1100


         Univ Of Miami Hospit
         Attn: Legal Noticing
         PO BOx 100401
         Atlanta, GA 30384-0401


         University Of Miami
         Attn: Legal Notice Department
         1320 S Dixie Hwy
         Miami, FL 33124
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         Wachovia Bank
         Wells Fargo Corporate Office
         420 Montgomery Street
         San Francisco, CA 94104


         Wal-Mart
         WAL-MART LEGAL DEPARTMENT
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         Winn-Dixie
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